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 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                             2:17-CR-00053-JAM
13                  Plaintiff,
                                                           STIPULATION AND ORDER FOR
14          v.                                             ANCILLARY HEARING AND ASSOCIATED
                                                           BRIEFING SCHEDULE
15   PAUL FOURNIER,
16                  Defendant.
17

18          The United States of America through its undersigned counsel, Nirav K. Desai and Kevin C.

19 Khasigian, Assistant United States Attorneys, and counsel for Petitioner National Union Fire Insurance

20 Company of Pittsburgh, Pa. (“National Union”), Matthew S. Foy and Michael A. Pursell, respectfully

21 request that the Court schedule the ancillary hearing on Petitioner’s filing [ECF No. 80] for September

22 11, 2018 at 9:15 a.m. Subject to the Court's approval, the United States and Petitioner National Union

23 further propose the following briefing schedule: the Government to respond 14 days prior to the

24 sentencing hearings scheduled on September 11, 2018, and Petitioner to reply no later than 7 days

25 thereafter. The ancillary hearing date and associated briefing schedule are requested to sync the ancillary

26 litigation and Defendant Fournier’s sentencing. Additionally, this is a multi-defendant case involving

27 various seized assets and potential third party interests, thus the above request will allow the parties to

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                                                          1                  Stipulation and Order re Ancillary Hearing and
                                                                             Briefing Schedule
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 1 coordinate ancillary proceedings for any assets forfeited from co-defendants in this case.

 2          WHEREFORE, based on the foregoing, and for good cause shown, the United States and

 3 Petitioners hereby stipulate that the ancillary hearing be scheduled on September 11, 2018 at 9:15 a.m.,

 4 the Government to respond 14 days prior, and Petitioner to reply 7 days following any opposition.

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 6 Dated: 3/8/2018                                       McGREGOR W. SCOTT
                                                         United States Attorney
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 8                                               By:     /s/ Kevin C. Khasigian
                                                         NIRAV K. DESAI
 9                                                       KEVIN C. KHASIGIAN
                                                         Assistant U.S. Attorneys
10

11 Dated: 3/7/18
                                                 By:     /s/ Michael A. Pursell
12
                                                         MATTHEW S. FOY
13                                                       MICHAEL A. PURSELL
                                                         Counsel for Petitioner National Union
14                                                       (Authorized by email)
15

16
                                                    ORDER
17

18          IT IS SO ORDERED.

19 Dated: 3/9/2018                                              /s/ John A. Mendez_____________
                                                                JOHN A. MENDEZ
20                                                              United States District Court Judge

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                                                        2                 Stipulation and Order re Ancillary Hearing and
                                                                          Briefing Schedule
